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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHO
                                       EASTERN DIVISION


UNITED STATES OF AMERICA,                           )        Case No. 1:07CR457-3
                                                    )
                 Plaintiff,                         )
                                                    )
        vs.                                         )        REPORT AND RECOMMENDATION
                                                    )        OF MAGISTRATE JUDGE
JAMES R. CHAPMAN,                                   )
                                                    )
                 Defendant.                         )        Magistrate Judge Kenneth S. McHargh
                                                    )


        Pursuant to General Order 99-49, this matter having been referred to United States Magistrate

Judge Kenneth S. McHargh for purposes for receiving, on consent of the parties, the defendant’s offer of

a plea of guilty, conducting the colloquy prescribed by Fed. R. Crim. P. 11, causing a verbatim record of

the proceedings to be prepared, referring the matter, if appropriate, for presentence investigation, and

submitting a Magistrate Judge’s Report and Recommendation stating whether the plea should be accepted

and a finding of guilty entered, the following, along with the transcript or other record of the proceedings

submitted herewith, constitutes the Magistrate Judge’s Report and Recommendation concerning the plea

of guilty proffered by the defendant.

        1.       On October 23, 2007, the defendant, accompanied by counsel, proffered a plea of guilty

                 to count one (1) of the Indictment.

        2.       Prior to such proffer, the defendant was examined as to his competency, advised of the

                 charge and consequences of conviction, informed that the Federal Sentencing Guidelines

                 are advisory and the Court must consider them but the Court may impose any sentence

                 authorized by law, notified of his rights, advised that he was waiving all his rights except

                 the right to counsel, and, if such were the case, his right to appeal, and otherwise

                 provided with the information prescribed in Fed. R. Crim. P. 11.
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                                                    2

        3.       The parties and counsel informed the court about a written plea agreement between the

                 parties. The defendant and the government orally modified the agreement to reflect the

                 defendant’s waiver of certain appellate rights, with the understanding that the oral

                 modification would be reduced to writing and filed as an addendum to the plea

                 agreement. The undersigned was advised that, aside for such agreement as described or

                 submitted to the court, no other commitments or promises have been made by any party,

                 and no other agreements, written or unwritten, have been made between the parties.

        4.       The undersigned questioned the defendant under oath about the knowing, intelligent, and

                 voluntary nature of the plea of guilty, and finds that the defendant’s plea was offered

                 knowingly, intelligently, and voluntarily.

        5.       The parties provided the undersigned with sufficient information about the charged

                 offense(s) and the defendant’s conduct to establish a factual basis for the plea.

        In light of the foregoing and the record submitted herewith, the undersigned finds that the

defendant’s plea was knowing, intelligent, and voluntary, and that all requirements imposed by the United

States Constitution and Fed. R. Crim. P. 11 have been satisfied. Therefore, the undersigned recommends

that the plea of guilty be accepted and a finding of guilty be entered by the Court.

                                                         s/Kenneth S. McHargh
                                                   Kenneth S. McHargh
                                                   United States Magistrate Judge

Date: October 26, 2007



        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court

within ten (10) days of receipt of this notice. Failure to file objections within the specified time WAIVES

the right to appeal the Magistrate Judge’s recommendation. See, United States v. Walters, 638 F.2d 947

(6th Cir. 1981); Thomas v. Arn, 474 U.S. 140 (1985), reh’g denied, 474 U.S. 1111 (1986).
